
WHATLEY, Judge.
The appellants, Robert H. Goldberg and Conquest Tom’s (Toronto) Ltd., Inc., challenge a summary and final judgment entered in favor of the appellee, Federal Financial Group, Inc. We reverse.
The appellee filed an action on seven promissory notes, and the appellants filed an answer, affirmative defenses and counterclaim. Since the appellants’ pleadings raised genuine issues of material fact, the trial court erred in entering a summary and final judgment in favor of the appellee. We accordingly, reverse and remand for proceedings consistent herewith.
Reversed and remanded.
THREADGILL, A.C.J., and ALTENBERND, J., concur.
